  Case 6:24-cv-01057-DDC-ADM                 Document 113      Filed 02/13/25      Page 1 of 14




                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS



 STATE OF ALASKA, et al.,

                               Plaintiffs,                 Case No. 24-1057-DDC-ADM

 v.

 UNITED STATES DEPARTMENT OF
 EDUCATION, et al.,

                               Defendants.



                                MEMORANDUM AND ORDER

        Eight dismissed plaintiffs want the Tenth Circuit to grade this court’s papers

immediately. The court dismissed all eight for lack of standing. Doc. 68 at 46. And they think

the court got it wrong. But there’s one problem. The court held that three other plaintiffs did

have standing to proceed. So, dismissing the eight didn’t end the case and didn’t produce a final

judgment appealable as a matter of right. Now, they ask the court to certify its dismissal Order

(Doc. 68) as final under Rule 54(b), which would allow them to appeal now instead of waiting

for the entire case to conclude. Appealing right away matters, dismissed plaintiffs contend,

because two related appeals already have placed the standing issue before the court of appeals.

Specifically, defendants appealed the court’s separate preliminary injunction ruling, and the three

surviving plaintiffs cross-appealed. And the standing question surfaces in the pending appeals’

briefing. So, dismissed plaintiffs propose, let’s review all the standing questions at once.

       Defendants oppose. They argue that the pending appeals’ review of standing will address

only the surviving plaintiffs’ distinct theory of standing—not the two standing theories relied on
    Case 6:24-cv-01057-DDC-ADM               Document 113         Filed 02/13/25        Page 2 of 14




by dismissed plaintiffs. And so, defendants assert, there’s no reason to deviate from following

the final judgment rule.

         The court concludes that dismissed plaintiffs have the better argument. Directing entry of

final judgment under Rule 54(b)—as dismissed plaintiffs request—promotes judicial efficiency

and avoids piecemeal appeals. The court thus grants dismissed plaintiffs’ Motion for Judgment

under FRCP 54(b) (Doc. 99). It explains this ruling, below. But first, the court briefly recites

the relevant background facts and procedural history.

    I.      Background

                                        The Underlying Case1

         Eleven states challenged new Department of Education student loan regulations, called

the SAVE Plan. Doc. 57 at 2 (1st Am. Compl.). Plaintiffs brought four claims, asserting that the

new regulations violated the Constitution’s separation of powers and various provisions of the

Administrative Procedures Act. Id. at 25–38 (1st Am. Compl. ¶¶ 133–227). Plaintiffs also

moved for a preliminary injunction that would prevent defendants from implementing the SAVE

Plan. Doc. 23. The eleven plaintiff states are: Alabama, Alaska, Idaho, Iowa, Kansas,

Louisiana, Montana, Nebraska, South Carolina, Texas, and Utah. Defendants filed a Motion to

Dismiss (Doc. 45).

                     The Court’s Standing and Preliminary Injunction Orders

         Before ruling plaintiffs’ preliminary injunction motion, the court ruled defendants’

Motion to Dismiss (Doc. 45). Defendants’ motion argued that plaintiffs lacked standing because

the SAVE Plan doesn’t cause them any direct harm. Doc. 46 at 14. Plaintiffs responded,

identifying three theories of harm to support standing: (1) reduced revenue for the states’ public


1
          The court assumes some familiarity with the underlying case and refers more enthusiastic readers
to its prior Orders (Doc. 68; Doc. 76) for a more fulsome treatment of the background facts.

                                                        2
    Case 6:24-cv-01057-DDC-ADM                Document 113         Filed 02/13/25        Page 3 of 14




instrumentalities that own student loans, (2) reduced tax revenue, and (3) a competitive harm to

their ability to recruit (and retain) employees to state public service employment. Doc. 53 at 8–

18. The court concluded that the first theory works under the recent Supreme Court ruling in

Biden v. Nebraska, 143 S. Ct. 2355 (2023). Doc. 68 at 2. Three plaintiff states relied on that

first public instrumentalities theory: Alaska, Texas, and South Carolina. So those plaintiff states

survived the standing challenge. Id. at 45–46. The other two standing theories, though, didn’t

make the cut. Id. at 2. The court thus held that the eight states who relied on the latter two

theories of standing hadn’t shouldered their standing burden. Id. at 45–46. So, the court

dismissed Alabama, Idaho, Iowa, Kansas, Louisiana, Montana, Nebraska, and Utah for lack of

standing. Id. The court refers to those eight states as the “dismissed plaintiffs” in this Order.

        A few weeks later, the court entered another Order (Doc. 76) granting in part and denying

in part the remaining plaintiffs’ Motion for Preliminary Injunction (Doc. 23). The court enjoined

defendants from implementing or acting under any parts of the SAVE Plan set to become

effective on July 1, 2024. Doc. 77.

                                               The Appeals

        Defendants appealed the court’s preliminary injunction ruling to the Tenth Circuit. The

Circuit docketed the appeal on June 27, 2024, styling it State of Alaska v. EDUC, Appellate Case

No. 24-3089. Doc. 78 (Notice of Interlocutory Appeal). In that appellate case, defendants filed

an Emergency Motion for an Immediate Administrative Stay and a Stay Pending Appeal to stay

the district court’s preliminary injunction. Appellate Case No. 24-3089, Doc. 6.2 The


2
          There’s a small litter of cases (and associated case and docket numbers) at play in this Order.
The court explains briefly its method for keeping them all straight. If a cite consists of solely “Doc.” and
a number, e.g., Doc. 99—without any preceding case number—the reference indicates a filing in this
district court case. References to filings in the various appellate court cases always begin with “Appellate
Case” and the relevant case number followed by the appellate docket citation, like this: Appellate Case
No. 24-3089, Doc. 17 at 1.

                                                         3
    Case 6:24-cv-01057-DDC-ADM                 Document 113          Filed 02/13/25        Page 4 of 14




Emergency Motion argued that surviving plaintiffs don’t have Article III standing. Id. at 16–18.

The Tenth Circuit granted the Emergency Motion and stayed the preliminary injunction pending

the appeal. Appellate Case No. 24-3089, Doc. 17 at 1. On August 22, 2024, the Circuit issued

an Order abating the appeal in light of the Eighth Circuit’s injunction in a closely related appeal,

discussed below. Doc. 107; Appellate Case No. 24-3089, Doc. 142.

        Surviving plaintiffs cross-appealed on July 9, 2024. Doc. 95; Appellate Case No. 24-

3094. Their cross-appeal briefs also address standing. See, e.g., Appellate Case No. 24-3094,

Doc. 40 at 25–37. The three surviving plaintiffs argue public-instrumentality-premised harms

(which this court held sufficient to confer standing) and also harms “based on their separate

income-tax and competitive injuries.” Id. at 25. The Circuit abated this cross-appeal, as well,

citing the Eighth Circuit injunction. Doc. 107; Appellate Case No. 24-3094, Doc. 85.

        Finally, the eight dismissed plaintiffs appealed, as well. On July 9, 2024, they asked the

Circuit to review their dismissal from the case. Doc. 94; Appellate Case No. 24-3093. They

subsequently asked this court to enter a final judgment under Rule 54(b).3 Doc. 99. The Circuit

abated the dismissed plaintiffs’ appeal on July 23, 2024—in the interest of judicial economy and

efficiency—pending this court’s Rule 54(b) Order. Doc. 103; Appellate Case No. 24-3093, Doc.

34.




3
        It is of no moment that dismissed plaintiffs first appealed and then moved for a Rule 54(b)
judgment. When parties appeal without first securing a judgment under Rule 54(b), our Circuit has
adopted “the practice of notifying the parties of [its] observation of the apparent jurisdictional defect and
giving them a date certain by which to secure Rule 54(b) certification or an order or judgment explicitly
adjudicating all remaining claims.” Lewis v. B.F. Goodrich Co., 850 F.2d 641, 645 (10th Cir. 1988); see
also O'Brien v. United States, 56 F.4th 139, 145 (1st Cir. 2022) (“The plaintiff filed a notice of appeal,
which was premature because the case was still pending against the . . . other defendants. We held the
appeal in abeyance while the plaintiff sought and received a partial final judgment.”).




                                                          4
   Case 6:24-cv-01057-DDC-ADM               Document 113          Filed 02/13/25      Page 5 of 14




        In sum, there are three appeals pending before the Tenth Circuit Court of Appeals—one

by defendants (Appellate Case No. 24-3089), one by the three surviving plaintiffs (Appellate

Case No. 24-3094), and one by the eight dismissed plaintiffs (Appellate Case No. 24-3093). The

Tenth Circuit has abated them all.

                                      Eighth Circuit Injunction

        A similar challenge to the SAVE Plan simultaneously emerged in the Eighth Circuit. It

emerged from an action filed by a separate group of states (Missouri, Arkansas, Florida, Georgia,

North Dakota, Ohio, and Oklahoma). See Missouri v. Biden, 112 F.4th 531, 534 (8th Cir. 2024).

Those states secured a nationwide emergency injunction pending appeal in the Eighth Circuit.

Id. at 538. An appeal and a cross appeal remain pending before the Eighth Circuit. See

Appellate Case No. 24-3089, Doc. 149 (identifying that the two appellate cases in Missouri v.

Biden remain pending and the injunction pending appeal remains in effect). The court’s

independent review of the Eighth Circuit docket confirms that—as of the date of this Order, at

least—no decision has issued in those appeals.

        That’s the state of play in the constellation of cases targeting the SAVE Plan. The court

now turns to the business at hand—plaintiffs’ motion for entry of final judgment.

 II.        Legal Standard

        Federal Rule of Civil Procedure 54(b) provides, in relevant part:

        When an action presents more than one claim for relief . . . or when multiple parties
        are involved, the court may direct entry of a final judgment as to one or more, but
        fewer than all, claims or parties only if the court expressly determines that there is
        no just reason for delay.

This Rule functions to make an immediate appeal available, thus avoiding “‘the possible

injustice of a delay in entering judgment . . . as to fewer than all of the parties until the final

adjudication of the entire case[.]’” Okla. Tpk. Auth. v. Bruner, 259 F.3d 1236, 1241 (10th Cir.


                                                        5
   Case 6:24-cv-01057-DDC-ADM              Document 113         Filed 02/13/25       Page 6 of 14




2001) (quoting 10 Charles A Wright et al., Federal Practice and Procedure § 2654 (1982)). But,

“Rule 54(b) entries are not to be made routinely.” Id. (quotation cleaned up). A “court applying

Rule 54(b) must consider the policy against piecemeal appeals, which is intended to promote

efficiency at the appellate-court level.” Cont’l Materials Corp. v. Valco, Inc., 740 F. App’x 893,

899 (10th Cir. 2018) (citing Jordan v. Pugh, 425 F.3d 820, 829 (10th Cir. 2005)). This policy

“expedites the ultimate termination of an action and relieves appellate courts of the need to

repeatedly familiarize themselves with the facts of a case.” Okla. Tpk. Auth., 259 F.3d at 1241.

To that end, “[i]nterrelated claims should be litigated and appealed together.” Cont’l Materials

Corp., 740 F. App’x at 899 (citing Jordan, 425 F.3d at 829). In short, district courts should

“weigh[] Rule 54(b)’s policy of preventing piecemeal appeals against the inequities that could

result from delaying an appeal.” Stockman’s Water Co., LLC v. Vaca Partners, L.P., 425 F.3d

1263, 1265 (10th Cir. 2005) (citing Curtiss-Wright Corp. v. Gen. Elec. Co., 446 U.S. 1, 8

(1980)).

       A “certification under Rule 54(b) is only appropriate when a district court adheres strictly

to the rule’s requirement that a court make two express determinations. First, the district court

must determine that the order it is certifying is a final order.” Okla. Tpk. Auth., 259 F.3d at 1242.

An order is final when “‘it is an ultimate disposition of an individual claim entered in the course

of a multiple claims action.’” Id. (quoting Curtiss-Wright Corp., 446 U.S. at 8). “Second, the

district court must determine that there is no just reason to delay review of the final order until it

has conclusively ruled on all claims presented by the parties to the case.” Id. The court

addresses these two express determinations, in turn, below.

III.        Analysis

       A.      Final Order Determination



                                                      6
   Case 6:24-cv-01057-DDC-ADM               Document 113         Filed 02/13/25     Page 7 of 14




          Here, the parties never dispute the first criterion. They agree that the Order (Doc. 68)

dismissing plaintiffs for standing is final. Doc. 104 at 4 (“Defendants do not dispute that this

[final order] requirement is satisfied with respect to the claims of the eight dismissed

Plaintiffs.”); Doc. 106 at 1 (“[D]ismissal for lack of standing is final as to the States of Kansas,

Alabama, Idaho, Iowa, Louisiana, Montana, Nebraska, and Utah.”). Nonetheless, the “district

court must independently determine that the order it’s certifying is final. The parties’ consent to

certification doesn’t relieve the district court of that duty.” Cont’l Materials Corp., 740 F. App’x

at 899.

          Fortunately, this first determination is straightforward. The June 7, 2024, Memorandum

and Order held that eight plaintiff states didn’t have standing. See Doc. 68 at 45–46 (“[P]laintiffs

Kansas, Alabama, Idaho, Iowa, Louisiana, Montana, Nebraska, and Utah haven’t shouldered

their burden to show that they have standing. The court thus doesn’t have subject matter

jurisdiction over claims these eight plaintiffs wish to assert. It dismisses them from this case.”).

And courts routinely find dismissal on standing grounds represents a final order for the purpose

of a Rule 54(b) analysis. See, e.g., In re Twin Lakes Real Estate, LLC, 391 B.R. 211, 2008 WL

1961014, at *1 (B.A.P. 10th Cir. 2008) (finding order “final for purposes of appeal” because it

“terminated Appellants as parties” for “lack of subject matter jurisdiction and lack of standing”);

Kane County v. Kempthorne, No. 5-CV-0941-BSJ, 2007 WL 3333268, at *2–*3 (D. Utah Nov.

8, 2007) (concluding that dismissing plaintiffs’ claims for lack of standing and subject matter

jurisdiction “represents a final judgment on those claims and as to those plaintiffs”); Rural

Water, Sewer & Solid Waste Mgmt. Dist. No. 1 v. City of Guthrie, No. CIV-05-786-R, 2008 WL

490635, at *2 (W.D. Okla. Feb. 21, 2008) (concluding that dismissing defendants’ third-party




                                                       7
   Case 6:24-cv-01057-DDC-ADM             Document 113        Filed 02/13/25      Page 8 of 14




complaint and counterclaim for jurisdictional issues—including prudential standing—constituted

a final judgment for purposes of Rule 54(b)).

        The court thus expressly finds that its June 7, 2024, Memorandum and Order (Doc. 68)

dismissing eight plaintiff states on standing grounds constitutes a final judgment for those eight

plaintiffs.

        B.     No Just Reason to Delay Determination

        The parties aren’t so agreeable, however, when it comes to the second express

determination—no just reason to delay. Their just-reason arguments are two-fold: First, the

parties dispute whether certifying the dismissal Order under Rule 54(b) will promote the historic

federal policy against piecemeal appeals. Second, the parties dispute whether dismissed

plaintiffs must demonstrate undue hardship to succeed on a Rule 54(b) motion. The court

addresses each argument, starting with the policy against piecemeal appeals.

                   1.     Piecemeal Appeals

        Understanding the parties’ piecemeal appeal arguments requires a brief overview of how

Rule 54(b) typically interacts with a case. Most courts decide a Rule 54(b) motion while some

claims remain pending before the district court. See, e.g., Kane Cnty., 2007 WL 3333268, at *1

(deciding Rule 54(b) motion when one plaintiff’s claim set for hearing before district court while

other plaintiffs’ claims dismissed); Fine v. Tumpkin, No. 17-cv-2140-WJM-MEH, 2019 WL

330759, at *1 (D. Colo. Jan. 25, 2019) (deciding Rule 54(b) motion when court had dismissed

claims against one set of defendants and claims against other defendant remained stayed in

district court pending resolution of state court criminal proceeding); Rural Water, 2008 WL

490635, at *3 (deciding Rule 54(b) motion when jurisdictional issues led to dismissal of third-

party complaint and counterclaim but factually intense issues remained pending in district court).



                                                     8
   Case 6:24-cv-01057-DDC-ADM              Document 113         Filed 02/13/25      Page 9 of 14




That is, a successful Rule 54(b) motion often leaves one set of parties or claims at the district

court level while the other set moves on to the appellate level.

       In such cases, the party seeking 54(b) certification often argues that its claims are

“distinct and separate” from those still pending before the district court. Kane Cnty, 2007 WL

3333268, at *2. That “distinct and separate” showing ensures that “no appellate court would

have to decide the same issues more than once[.]” Id. The factors the district court should

consider on a Rule 54(b) motion likewise highlight a case’s typical posture, and how a distinct-

and-separate analysis promotes appellate-court-level efficiency: “Factors the district court

should consider are ‘whether the claims under review are separable from the others remaining to

be adjudicated and whether the nature of the claims already determined are such that no

appellate court would have to decide the same issues more than once even if there were

subsequent appeals.” Stockman’s Water Co., 425 F.3d at 1265 (emphasis added & quotation

cleaned up) (quoting Curtiss-Wright Corp., 446 U.S. at 8). In other words, a Rule 54(b) analysis

balances a party’s desire for an immediate appeal with the efficiency of keeping a case all

together. See Cont’l Materials Corp., 740 F. App’x at 899 (“Interrelated claims should be

litigated and appealed together.” (citing Jordan, 425 F.3d at 829)).

       The posture of this case is different. Here, defendants already have appealed the court’s

preliminary injunction ruling to the Tenth Circuit, and surviving plaintiffs have cross-appealed.

So, ensuring that the appellate court doesn’t have to decide the same issues more than once calls

for a slightly different analysis here. The goal of judicial efficiency at the appellate-court level

stays constant. But here—where the remaining parties and claims are on appeal before the

Circuit already—the question becomes whether simultaneously evaluating the dismissed




                                                      9
    Case 6:24-cv-01057-DDC-ADM              Document 113          Filed 02/13/25       Page 10 of 14




plaintiffs’ standing with that pending appeal promotes efficiency. The court concludes that it

does so, as explained, next.

        Each side argues that its approach will prevent disfavored piecemeal appeals, while the

other side’s approach will invite them. Defendants argue that the pending preliminary-injunction

appeal—to the extent it reviews standing—will address only the distinct standing theory relied

on by the three surviving plaintiffs: standing based on harms to public instrumentalities. Doc.

104 at 4. So, defendants contend, the standing theories relied on by the eight dismissed states—

tax impact and employee competition harms—needn’t arise in the surviving plaintiffs’ appeal.

Defendants thus conclude that, “although both appeals are likely to address standing-related

issues, and there may be some overlap, the focus of each appeal is not likely to be on all ‘the

same issues.’” Id. (footnote omitted).4

        To no one’s surprise, the dismissed plaintiffs see it differently. They retort that it’s

defendants’ approach—not their own—that invites piecemeal appeals. Doc. 106 at 3. Dismissed

plaintiffs note the briefing in the pending appeals. Id. And they argue that this appellate briefing

suggests the Tenth Circuit may reach all three standing theories on appeal, after all. Id. The

dismissed plaintiffs have the better of this argument.



4
         Defendants also argue—because standing requires continued monitoring at successive stages of
litigation—that similar standing questions may arise again at the summary judgment stage. Doc. 104 at 5.
Their argument goes like this: If our Circuit reversed this court’s standing dismissal on appeal,
defendants could take additional discovery and introduce additional evidence about standing as the
litigation proceeds, for example, at summary judgment. Id.

        The court isn’t convinced a three-steps-down-the-road hypothetical should weigh into its analysis
here. The court thus declines to premise its Rule 54(b) analysis on what our Circuit later may decide on
appeal, what defendants may acquire in discovery, and what arguments defendants may present at a
hypothetical summary judgment stage. Looking at the litigation as it stands today, certifying under Rule
54(b) appears most likely to promote judicial efficiency at the appellate-court level. And that efficiency
is one of the governing concerns of a 54(b) analysis. See Cont’l Materials Corp., 740 F. App’x at 899
(“[A] court applying Rule 54(b) must consider the policy against piecemeal appeals, which is intended to
promote efficiency at the appellate-court level.”) (citation omitted).

                                                        10
  Case 6:24-cv-01057-DDC-ADM              Document 113         Filed 02/13/25      Page 11 of 14




       The surviving plaintiffs’ Response and Opening Cross-Appeal Brief identifies all three

standing issues. Appellate Case No. 24-3094, Doc. 40 at 25 (“Moreover, if the Court were to

reweigh the evidence on appeal, it must reweigh all the evidence, which demonstrates not only

that the States have standing because of the harm to their entities, but also based on their separate

income-tax and competitive injuries.” (emphasis in original)). What’s more, the Brief argues,

“South Carolina also has standing because the SAVE Plan will cost it income-tax revenue.” Id.

at 34. Finally, the brief challenges the district court’s holding that plaintiffs didn’t have standing

under their employee-competition theory. Id. at 64. Dismissed plaintiffs’ rejected standing

theories are thus, at least in some fashion, already before the Tenth Circuit.

       Even if dismissed plaintiffs’ precise standing theories weren’t argued directly to the

Circuit, judicial economy still would favor granting the Rule 54(b) motion here. To their credit,

defendants concede that standing is an issue in the preliminary-injunction appeal—and it’s an

issue by their own hand. Doc. 104 at 4 (conceding that “both appeals are likely to address

standing-related issues”); see also Appellate Case No. 24-3089, Doc. 6 at 16 (defendants arguing

before our Circuit that plaintiffs don’t have Article III standing). Even if the Circuit only

addresses the public instrumentalities standing argument, as defendants suggest, it necessarily

will consider the SAVE Plan’s economic mechanisms and borrowers’ anticipated responses to

those mechanisms. Those same economic mechanisms and borrower responses also prove

crucial to evaluating tax impact and competitive employment harms. That is, taking up

dismissed plaintiffs’ other two standing theories would require the Tenth Circuit to consider

many of the same questions, on many of the same facts. Certainly, the standing theory that

allowed Alaska, Texas, and South Carolina to proceed was distinct. But the analysis of any two

of the standing theories here necessarily involves overlap, as defendants themselves concede.



                                                     11
  Case 6:24-cv-01057-DDC-ADM              Document 113        Filed 02/13/25      Page 12 of 14




See Doc. 104 at 4 (acknowledging that “there may be some overlap” because both appeals are

likely to address standing). And that overlap independently suffices to recommend concurrent

appeals.

                   2.      Undue Hardships

       Defendants try one final toss of the dice. They argue that the eight dismissed plaintiffs

won’t endure “undue hardships” if the court routinely applies the final-judgment rule, rather than

certifying under Rule 54(b). Doc. 104 at 3–4. But undue hardship isn’t part of Rule 54(b)’s

rudiments. As dismissed plaintiffs point out, defendants appear to “invent a new, third

condition” for a Rule 54(b) certification. Doc. 106 at 1 n.1. To be sure, defendants didn’t pull

an “undue hardships” analysis from thin air. Our Circuit explained in Oklahoma Turnpike

Authority that one justification for a Rule 54(b) certification involves “‘provid[ing] a recourse for

litigants when dismissal of less than all their claims will create undue hardships.’” 259 F.3d at

1242 (quoting Gas-A-Car, Inc. v. Am. Petrofina, Inc., 484 F.2d 1102, 1105 (10th Cir. 1973)).

And the Circuit clarified that the undue hardship justification is limited, and thereby counsels a

court to hesitate granting 54(b) certification. Id. But nowhere does our Circuit identify undue

hardship as a requirement for a successful Rule 54(b) certification. Nor do defendants cite any

other authority suggesting as much. See generally Doc. 104. Instead, any undue hardship

analysis is best understood as part of the “inequities that could result from delaying an appeal”

prong of the balancing test. Stockman’s Water Co., 425 F.3d at 1265 (citing Curtiss-Wright

Corp., 446 U.S. at 8).

       Recall that Tenth Circuit precedent requires “weighing Rule 54(b)’s policy of preventing

piecemeal appeals against the inequities that could result from delaying an appeal.” Id. (citing

Curtiss-Wright Corp., 446 U.S. at 8). This balancing test assumes the typical procedural posture

of most 54(b) motions, where allowing an appeal under 54(b) certification leaves some of the
                                                     12
  Case 6:24-cv-01057-DDC-ADM              Document 113         Filed 02/13/25      Page 13 of 14




claims unadjudicated at the district court. In those cases, a district court can permit a potentially

piecemeal approach when “the inequities that could result from delaying an appeal” outweigh

those piecemeal concerns. Id. (citing Curtiss-Wright Corp., 446 U.S. at 8). That’s where any

undue hardship analysis enters. See, e.g., Kane Cnty., 2007 WL 3333268, at *2 (explaining

defendants’ argument that there’s no reason “any wait for the . . . claim to be resolved will cause

[plaintiff] the hardship necessary to justify a piecemeal appeal”). So, an undue hardship may

permit a court to allow a piecemeal appeal—the typical result of certifying under Rule 54(b). To

put it differently, our Circuit’s precedent aims to limit piecemeal appeals to those situations truly

warranting it—those situations where “‘dismissal of less than all [litigants’] claims will create

undue hardships.’” Okla. Tpk. Auth., 259 F.3d at 1242 (quoting Gas-A-Car, 484 F.2d at 1105).

That’s not this case.

       The court already concluded here that allowing dismissed plaintiffs to appeal now

actually prevents a piecemeal approach. So, the court needn’t assess the undue hardships or

inequities that could result from delaying an appeal—because it needn’t balance them against

disfavored piecemeal appeals. In other words, in this unusual case “the judicial administrative

interests and the equities dovetail and militate in favor of granting judgment pursuant to Rule

54(b).” Rural Water, 2008 WL 490635, at *3. The court thus concludes there is no just reason

to delay.

IV.         Conclusion

       The court expressly determines that its June 7, 2024, Memorandum and Order (Doc. 68)

dismissing eight states on standing grounds is final. The court also expressly determines that

there is no just reason to delay entry of judgment. On the contrary, entering judgment now

serves the aims of judicial efficiency at the appellate-court level by helping to prevent piecemeal

appeals. Certifying Doc. 68 as final under Rule 54(b) thus is appropriate here.
                                                     13
  Case 6:24-cv-01057-DDC-ADM           Document 113      Filed 02/13/25     Page 14 of 14




        IT IS THEREFORE ORDERED BY THE COURT THAT plaintiffs Alabama, Idaho,

Iowa, Kansas, Louisiana, Montana, Nebraska, and Utah’s “Motion for Judgment under FRCP

54(b)” (Doc. 99) is granted.

        IT IS FURTHER ORDERED THAT the court directs the Clerk of the Court to enter

judgment against plaintiffs Alabama, Idaho, Iowa, Kansas, Louisiana, Montana, Nebraska, and

Utah.

        IT IS SO ORDERED.

        Dated this 13th day of February, 2025, at Kansas City, Kansas.

                                                  s/ Daniel D. Crabtree
                                                  Daniel D. Crabtree
                                                  United States District Judge




                                                 14
